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                  UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

CARLTON LANDIS                                     PLAINTIFF‐APPELLANT

v.                                                         C.A. NO. 20‐60939
                                                          3:19cv177‐DPJ‐FKB

M. MARTIN, ET AL.                              DEFENDANTS‐APPELLEES



          MOTION TO SUSPEND BRIEFING SCHEDULING
          DURING PENDENCY OF MOTION TO DISMISS



     Pursuant to Rules 26 and 27 of the Federal Rules of Appellate

Procedure, the Appellees move to suspend the briefing schedule while this

Court considers the Appellees’ contemporaneously filed motion to dismiss

or, in the alternative, motion for summary affirmance. In support,

Appellees show:

        1. Moments before filing this motion, Appellees moved to dismiss
           Landis’s appeal or, alternatively, for summary affirmance of the
           district court’s judgment.

        2. This Court’s resolution of the pending motion to dismiss or for
           summary affirmance should relieve Appellees of the need to
           prepare and submit a response brief and should relieve this
           Court of the need to consider such brief.

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                        CERTIFICATE OF CONFERENCE

     Because Landis is pro se and incarcerated, the undersigned did not

contact him to ascertain his position regarding the present motion. The

undersigned assumes that the motion is opposed.

                                CONCLUSION

     Appellees ask that this Court suspend the briefing schedule until it

rules on the Appellees’ contemporaneously filed motion to dismiss or, in

the alternative, motion for summary affirmance. Should merits briefing be

required after the Court rules on the motion to dismiss, Appellees request

that they receive 30 days in which to submit their merits brief.



                                    Respectfully submitted,

                                    DARREN J. LAMARCA
                                    Acting United States Attorney for the
                                    Southern District of Mississippi

                                      /s/ Jennifer Case
                                    JENNIFER CASE
                                    Mississippi Bar Number 104238
                                    Assistant United States Attorney
                                    501 E. Court Street, Suite 4.430
                                    Jackson, Mississippi 39201
Dated: February 2, 2021             (601) 965‐4480


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                           CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing

with the Clerk of the Court using the Electronic Case Filing system (ECF). I

certify that a true copy of the foregoing has been mailed via United States

Mail, postage prepaid, to the pro se appellant as follows:

     Pro Se Appellant
     Carlton Theodore Landis
     Fed. Reg. No. 24449‐056
     Administrative United States Penitentiary
     P.O. Box 1002
     Thomson, IL 61285
                                   /s/ Jennifer Case
                                 JENNIFER CASE
Dated: February 2, 2021          Assistant United States Attorney




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                        CERTIFICATE OF COMPLIANCE

     1.   This document complies with the type‐volume limitation of Fed.
          R. App. P. 27(d)(2) because it contains 194 words, excluding the
          parts which are exempted by the rules.

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          App. P. 32(a)(6) because it has been prepared using Palatino
          Lynotype 14‐point font produced by MS Word 365 software; the
          footnotes are in 12‐point type.

     3.   Any relevant privacy redactions have been made to this
          document.

     4.   The electronic submission of this brief is an exact copy of the
          paper document as required by FIFTH CIR. R. 25.2.1.

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                                      /s/ Jennifer Case
                                    JENNIFER CASE
Dated: February 2, 2021             Assistant United States Attorney




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